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                                    UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF TENNESSEE



  In Re:                                                                Chapter 13
  NATHANIEL HALL                                                        Case No.: 05-27184-L
  1475 SIDNEY
  MEMPHIS, TN 38108
                   TRUSTEE'S FINAL ACCOUNTING AND REPORT & MOTION TO CLOSE CASE

             The above case having been DISMISSED WITH PREJUDICE          -   UNCONFIRMED    CASE    on
August 17, 2005, your Trustee makes his final accounting as follows:

Total                                                                                                $0.00
Less Refunds to Debtor                                                               0.00
TOTAL AMOUNT OF PLAN FUND                                                                                 0.00

Administrative Fees:
      Filing Fee                                                                     0.00
      Notice Fees                                                                    0.00
      Attorney Fees                                                                  0.00
      Trustee Fees                                                                   0.00
      Court Ordered Automobile Insurance                                             0.00
TOTAL ADMINISTRATIVE FEES                                                                                 0.00




   WHEREFORE, your Trustee shows this Court that the estate has been properly and fully
administered in accordance with     the requirements of the Bankruptcy Code and Rules, and the
estate is ready for closing, and prays that a Final Decree be entered discharging the
Trustee and closing the estate, and granting such other and further relief as the Court may

                                                                        TOTAL CLAIMS:
/s/ George W. Stevenson                                                    PRIORITY                  0.00
Date: August 30, 2005                                                      SECURED              10,227.58
TED I. JONES, ATTORNEY                                                     UNSECURED             6,272.23




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